Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 1 of 12 PageID #: 69

                                                                                FDLED
                                                                          JAMES J. V ILT, JR. - CLERK

                                                                                    SEP 26 2023
                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY                     U.S. DISTRICT COURT
                                    AT LOUISVILLE                           WEST'N. DIST. KENTUCKY

UNITED STATES OF AMERICA                                                               PLAINTIFF


V.                                                          CRIMINAL NO. 3:23-CR-00055-DJH


JOHN ANTHON Y SCHMIDT                                                               DEFENDANT


                                     PLEA AGREEMENT

       Pursuant to Rule 11 ( c)(1 )(B) of the Federal Rules of Criminal Procedure, the United

States of America, by Michael A. Bennett, United States Attorney for the Western District of

Kentucky, and defendant, John Anthony Schmidt, and his attorneys, Rob Eggert and Patrick

Renn, have agreed upon the following:

       1.      Defendant acknowledges that he has been charged in the Indictment in this case

with violations of Title 18, United States Code, Sections 1343 and 1344. Defendant further

acknowledges that the· Indictment in this case seeks forfeiture of any property, real or personal,

which constitutes or is derived from proceeds obtained, directly or indirectly, as the result of the

v iolations, and any property used or intended to be used, in any manner or part, to commit or to

faci litate the commission of such violations, pursuant to Title 18, United States Code, Sections

98l(a)(l)(C), 982(a)(2), and T itle 28, United States Code, Section 246 1, by reason of the offenses

charged in Counts 1 through 3 of the Indictment.

       2.      Defendant has read the charges against him conta ined in the Indictment, and those

charges have been fully explained to him by his attorney . Defendant fully understands the nature

and e lements of the crimes with which he has been charged.
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 2 of 12 PageID #: 70




       3.      Defendant w ill enter a vo luntary plea of guilty to Counts l through 3 of the

Indictment in this case. Defendant w ill plead guilty because he is in fact guilty of the charges.

The parties agree to the following factual basis for this plea:

        Beginning no later than September 2014 and continuing until in or about January 2019, in
the Western District of Kentucky, Bullitt County, Kentucky, the defendant devised a scheme to
defraud and to obtain money by means of false and fraudulent pretenses and representations, and
transmitted writings and signs in interstate w ire communications for the purpose of executing the
scheme. During this same time frame and geographic area, the defendant also knowingly and
intentionally devised and intended to devise a scheme to obtain money and funds owned by and
under the custody and control of a two federally-insured financial institutions by means of
materially fal se and fraudulent pretenses, representations, and promises (both the wire and bank
fraud schemes referred to below j ointly as "the scheme.")

        As part of the scheme, the defendant devised a scheme to defraud and to obtain money
from two Trusts, Trust A and Trust B, by means of false and fraudulent pretenses and
representations in which he began to move money from each of the Trusts' bank accounts to bank
accounts he controlled. The transfers of money the defendant made from the assets of Trust A
and Trust B as part of the scheme to defraud were neither approved nor authorized by the terms
of the Trusts, nor were the funds used for Trust purposes. Instead, the defendant made the
unapproved transfers of money from the Trusts' assets in order to pay for personal expenditures.
As part of the scheme, the defendant mi srepresented to the financial institutions that held the
Trusts' assets -- Financial Institutions # 1 and #2 - that he had the authority as trustee to remove
and obtain certain money and funds from Trusts A and B held at these financial institutions, when,
in truth and in fact, he had no such authority to do so and was removing those monies and funds
for his own personal use. By means of such fraud, between 2014 and 2019 the defendant obtained
money to which he was not entitled from Trust A and Trust B totaling $435,010.

        As part of the scheme, while serving as trustee for Trusts A and B, the defendant wrote
checks, caused official checks to be issued, obtained cashier's checks, and caused withdrawals of
funds from Trust A and Trust B held at Financial Institutions # 1 and #2, respectively, in order to
obtain money from the Trusts to which he was not entitled. The defendant would then deposit
the money he obtained from Trust A or Trust B into a bank account he held personally or a bank
account held by hi s law firm. The defendant then used the funds obtained from the Trusts for
purposes unrelated to Trust A or Trust B.

         The defendant also obtained funds from the Trusts in order to pay debts he incurred to
individuals he had represented or purported to represent in the course of his legal practice. In
these instances, the defendant would obtain the funds from the Trusts' accounts at Financial
Institutions # 1 and #2 through his position as trustee by transferring funds or causing the issuance
of checks on the Trusts' accounts. The defendant often signed checks he caused to be issued from
the Trusts' bank accounts for his own benefit rather than for Trust purposes as "John Schmidt,
trustee" when he issued or endorsed the checks.



                                                   2
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 3 of 12 PageID #: 71




       In at least two instances the defendant obtained funds from Trust B in order to replace
missing funds from the Bullitt County Master Commissioner bank account. In these instances,
the defendant obtained the funds from Trust B by way of a temporary check drawn on Trust B's
bank account with Financial Institution #2 that he signed as trustee for Trust B. The defendant
then deposited the temporary check into the bank account of his private law firm and subsequently
wrote a check from his law firm account (for the same or substantially similar amount to that
which he withdrew from Trust B) to "John Schmidt, Master Comm issioner" and deposited that
check into the Bullitt County Master Commissioner account.

        On or about October 17, 2018, for the purpose of executing the scheme, the defendant
caused to be transmitted in interstate commerce Official Check #420420 in the amount of$12,000
drawn from the account of Trust A held at Financial Institution # I , and subsequently deposited
into the bank account of The Schmidt Law Office PSC at WesBanco Bank ending in 0026. This
caused a w ire communication to travel from Bullitt County, Kentucky, to outside of Kentucky.

       4.      Defendant understands that the charges to which he will plead guilty carry a

combined maximum term of imprisonment of 80 years, a combined maximum fine of

$2,250,000, and a 5-year term of supervised release. Defendant understands that an additional

term of imprisonment may be ordered if the terms of the supervised release are violated, as

explained in 18 U.S.C. § 3583. Defendant understands that as a result of the charges to which he

wil l plead guilty he may be ordered to forfeit any property, real or personal, which constitutes or

is derived from proceeds obtained, directly or indirectly, as the result of the violations, and any

property used or intended to be used, in any manner or part, to commit or to facilitate the

commission of such violations.

       5.      Defendant recognizes that pleading guilty may have consequences with respect to

his immigration status if he is not a citizen of the United States. Under federal law, a broad range

of crimes are removable offenses, which may include the offense to which Defendant is pleading

guilty. In addition, if he is a naturalized citizen, Defendant acknowledges that certain convictions,

which may include Defendant's conviction, may expose him to denaturalization under federal

law. Because removal, denaturalization, and other immigration consequences are handled in

separate proceedings, Defendant understands that no one, including his attorney or the U.S. District


                                                  3
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 4 of 12 PageID #: 72




Cow1, can predict with certainty how his conviction may affect his immigration, naturalization, or

citizenship status. Defendant agrees to plead guilty with a full understanding that this guilty plea

may lead to adverse immigration consequences, including denaturalization and possible automatic

removal from the United States.

       6.      Defendant understands that if a tenn of imprisonment of more than one year is

imposed, the Sentencing Guidelines require a term of superv ised release and that he will then be

subject to certain conditions ofrelease. §§5Dl. l , 5Dl.2, 5Dl.3.

       7.      Defendant understands that by pleading guilty, he sun-enders certain rights set

forth below. Defendant's attorney has explained those rights to him and the consequences of his

waiver of those rights, inc luding the fo llowing:

               A.      If defendant persists in a plea of not guilty to the charges against

        him, he has the right to a public and speedy trial. The trial could either be a jury

       trial or a trial by the judge sitting without a jury. If there is a jury trial, the jury

       would have to agree unanimously before it could return a verdict of either guilty

       or not gui lty. The jury would be instructed that defendant is presumed innocent

       and that it could not convict him unless, after hearing a ll the evidence, it was

        persuaded of defendant's guilt beyond a reasonable doubt.

               B.      At a trial, whether by a jury or a judge, the United States would be

        required to present its witnesses and other evidence against defendant. Defendant

       would be able to confront those government witnesses and his attorney would be

        able to cross-examine them. In turn, defendant could present witnesses and other

        evidence in his own behalf. If the witnesses for defendant would not appear




                                                     4
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 5 of 12 PageID #: 73




       voluntarily, he could require their attendance through the subpoena power of the

       Cowi.

                C.     At a trial, defendant would have a privilege against self-

       incrimination and he could decline to testify, without any inference of guilt being

       drawn from his refusal to testify. If defendant desired to do so, he could testify in

       his own behalf.

        8.      Defendant understands that the United States Attorney's Office has an obligation

to fully apprise the District Couit and the United States Probation Office of all facts pertinent to

the sentencing process, and to respond to all legal or factual inquiries that might arise either

before, during, or after sentencing. Defendant admits all acts and essential elements of the

indictment counts to which he pleads guilty.

        9.      Defendant agrees that the amount of restitution ordered by the Court shall include

Defendant' s total offense conduct, and is not limited to the counts of conviction. The parties

agree and stipulate that Defendant shall pay restitution in the amount of $308,010, an amount

less than the loss amount in the case due to funds repaid prior to the plea agreement in this case.

The parties agree that the restitution shall be ordered due and payable on the date of sentencing.

Defendant agrees that any payment schedule imposed by the Court is without prejudice to the

United States to take all actions available to it to collect the full amount of the restitution at any

time. Restitution payments shall be made payable to the U.S. D istrict Court Clerk at Gene

Snyder Cowthouse, 601 W. Broadway, Louisville, KY 40202. The restitution shall be paid to or

on behalf of the victims in amounts to be provided at sentencing.




                                                   5
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 6 of 12 PageID #: 74




        Defendant agrees that not later than 45 days from entry of the Plea Agreement, Defendant

shall provide to the United States, under penalty of perjury, a financial disclosure form listing all

Defendant's assets/financial interests. Defendant authorizes the United States to run credit

bureau repo1is prior to sentencing, and Defendant will sign releases authorizing the United States

to obtain Defendant's financial records. Defendant understands that these assets and financial

interests include all assets and financial interests in which Defendant has an interest, direct or

indirect, whether held in Defendant's own name or in the name of another, in any prope1iy, real

or personal. Defendant shall also identify all assets valued at more than $5,000 which have been

transferred to third parties since the date of the first offense, including the location of the assets

and the identity of the third party(ies). Defendant agrees that the United States may share the

contents of the repmis and financial disclosures with the Court and U.S. Probation.

        Defendant agrees to submit to a deposition in aid of collection at times and places that the

United States directs. If the Defendant has a financial advisor or accountant, Defendant agrees,

at his expense, to make them available to aid the United States in determining Defendant's net

wo1ih. Defendant authorizes the United States to file notice of Lis Pendens prior to judgment on

any real property Defendant owns either individually or jointly. Defendant agrees to his name

and debt being added to the Treasury Offset Program.

        Upon execution of the Plea Agreement, Defendant agrees not to transfer, sell, or secrete

any of Defendant' s property, real or personal, held j ointly, individually or by nominee/third

patiy, valued at $5,000 or more without first advising the United States not less than IO days

before the proposed sale or transfer. Defendant agrees that failure to comply w ith any of the

provisions of this Agreement constitutes a material breach of the Plea Agreement and Defendant

agrees that the United States is relieved of its obligations under this Agreement and/or may not



                                                   6
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 7 of 12 PageID #: 75




move the Court pursuant to U.S.S.G. § 3El.l (b) to reduce the offense level by one additional

level, and may in its discretion argue to the Court that the Defendant should not receive a two-

level reduction for acceptance of responsibility pursuant to U.S.S.G. § 3El.1 (a). However, the

Defendant may not w ithdraw his guilty plea because of his breach. The defendant further

understands that he may be responsible for a fine, costs of prosecution, costs of incarceration and

supervision which may be required.

        10.      Defendant acknowledges liability for the special assessment mandated by 18

U .S.C. § 3013 and w ill pay the assessment in the amount of $300 to the United States District

Court Clerk's Office by the date of sentencing.

        11.      At the time of sentencing, the United States will

                 -recommend a sentence of imprisonment at the lowest end of the
                 applicable Guideline Range, but not less than any mandatory
                 minimum term of imprisonment required by law.

                 -recommend a fine at the lowest end of the applicable Guideline
                 Range, to be due and payable on the date of sentencing. 1

                 -recommend a reduction of 3 levels below the otherwise applicable
                 Guideline for "acceptance ofresponsibi lity" as provided by
                 §3El.l(a) and (b), provided the defendant does not engage in
                 future conduct which violates any federal or state law, violates a
                 condition of bond, constitutes obstruction of justice, or otherwise
                 demonstrates a lack of acceptance ofresponsibility. Should such
                 conduct occur and the United States, therefore, opposes the
                 reduction for acceptance, this plea agreement remains binding and
                 the defendant will not be allowed to withdraw his plea.

        12.      Both patties have independently reviewed the Sentencing Guidelines applicable in

this case, and in their best judgment and belief, conclude as follows:




1 The defendant acknowledges that he has read the Notice and Penalty Pages attached to the Indictment, and that he

understands the interest and penalty provisions applicable to the fine imposed and included in the Judgment entered
by the Court, said Notice and Penalty Pages are incorporated herein by reference.

                                                         7
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 8 of 12 PageID #: 76




                 A.     The Applicable Offense Level should be determined after completion of

       the presentence investigation by the United States Probation Office, pursuant to Fed. R.

       Crim. P . 32(c). Both patties reserve the right to object to the presentence investigation

       repo1i.

                 B.     The Criminal History of defendant shall be determined upon

       completion of the presentence investigation, pursuant to Fed. R. Crim. P. 32(c).

       Both parties reserve the right to object to the USSG §4A 1.1 calculation of

       defendant's criminal history. The parties agree to not seek a depaiiure from the

       Criminal History Category pursuant to §4A l.3.

                 C.     The forego ing statements of applicability of sections of the

       Sentencing Guidelines and the statement of facts are not binding upon the Court.

       The defendant understands the Court will independently calculate the Guidelines

       at sentencing and defendant may not withdraw the plea of guilty solely because

       the Court does not agree with either the statement of facts or Sentencing

       Guideline application.

13. Defendant agrees to the fo llowing waivers of appel late and post-conviction rights:

                 A. The Defendant is aware of his right to appeal his conviction and that 18
                    U.S.C. § 3742 affords a defendant the right to appeal the sentence
                    imposed. Unless based on claims of ineffective assistance of counsel or
                    prosecutorial misconduct, the Defendant know ingly and voluntarily waives
                    the right to directly appeal his conviction and the resulting sentence pursuant
                    to Fed. R. App. P. 4(b) and 18 U.S.C. § 3742.

                 B. The Defendant is aware of his right to contest or collaterally attack his
                    conviction and the resulting sentence under 28 U.S.C. § 2255 or
                    otherwise. Unless based on claims of ineffective assistance of counsel or
                    prosecutorial misconduct, Defendant knowingly and voluntarily waives any
                    collateral attack argument; and



                                                  8
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 9 of 12 PageID #: 77




               C. The defendant knowingly and voluntarily agrees to limit any motion for
                  compassionate release for extraordinary and compelling reasons, pursuant to
                  18 U.S.C. §3582(c)(l)(A)(i), that the defendant may file in the future to the
                  grounds listed in proposed amended USSG §1BI.13(b)(l)-(5) (which is
                  scheduled to take effect, absent Congressional action, November 1,
                  2023). The defendant knowingly and voluntarily waives the option to move
                  for compassionate release based on any non-retroactive change in the law,
                  including as provided for under proposed amended USSG §1Bl.1 3(b)(6)
                  ("Unusually Long Sentence").

        14.    Defendant waives and agrees to waive any rights under the Speedy Trial Act and

understands and agrees that sentencing may be delayed. The reason for such waiver is so that at

sentencing the Court will have the benefit of all relevant information.

        15.    Defendant agrees not to pursue or initiate any civil claims or suits against the

United States of America, its agencies or employees, whether or not presently known to

defendant, arising out of the investigation or prosecution of the offenses covered by this

Agreement.

        16.    The defendant hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including w ithout limitation

any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

Privacy Act of 1974, 5 U.S.C. § 552a.

        17.    Defendant agrees to interpose no objection to the United States transferrin g

evidence or providing information concerning defendant and this offense, to other state and

federal agencies or other organizations, including, but not limited to the Internal Revenue

Service, other law enforcement agencies, and any licensing and regulatory bod ies, or to the entry

of an order under Fed. R. Crim. P. 6(e) authorizing transfer to the Examination Division of the

Internal Revenue Service of defendant's documents, or documents of third persons, in possession



                                                  9
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 10 of 12 PageID #: 78




 of the Grand Jury, the United States Attorney, or the Criminal Investigation Division of the

 Internal Revenue Service. Defendant further agrees to the entry of an order under Fed. R. Crim.

 P. 6(e) authorizing the use of documents in possession of the Grand Jury to be used during the

 defendant's deposition as contemplated in paragraph 9 of this Agreement.

           18.   Defendant agrees to forfeit and abandon any right to any and all evidence and

property seized during the course of this investigation (including but not limited to any item

 subject to forfeiture), and waives any right to seek the return of any property pursuant to Fed. R.

 Crim. P. 41 or otherwise. Defendant understands and agrees that items seized during the course

 of this investigation will be destroyed or otherwise disposed ofby the seizing law enforcement

 agency.

           19.   The Defendant understands and agrees that, consistent with the provisions of 18

 U.S.C. § 3143, following the change of plea the defendant may be detained pending sentencing.

         20.     It is understood that pursuant to Fed. R. Crim. P. l l(c)(l)(B), the

 recommendations of the United States are not binding on the Court. In other words, the Court is

 not bound by the sentencing recommendation and defendant will have no right to withdraw his

 guilty plea if the Court decides not to accept the sentencing recommendation set forth in this

 Agreement.

         21.     Defendant agrees that the disposition provided for within this Agreement is fair,

 taking into account all aggravating and mitigating factors. Defendant states that he has informed

 the United States Attorney's Office and the Probation Officer, either directly or through his

 attorney, of all mitigating factors .

           22.   This document and the supplemental plea agreement state the complete and only

 Plea Agreements between the United States Attorney for the Western District of Kentucky and



                                                   10
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 11 of 12 PageID #: 79




 defendant in this case, and are binding only on the patties to this Agreement, supersedes all prior

 understandings, if any, whether written or oral, and cannot be modified other than in writing that

 are signed by all parties or on the record in Court. No other prom ises or inducements have been

 or will be made to defendant in connection with this case, nor have any predictions or threats

 been made in connection with this plea.

 AGREED:

 MICHAEL A. BENNETT
 United States Attorney

 By:



'"'N:l  ~ 1,..J., ~ -
  StephaieM. Z imdahl                                                Dat~       1
 Assistant United States Attorney


         I have read this Agreement and carefully reviewed every pa1t of it with my attorney. l
 fully understand it and I voluntarily agree to it.



                                                                     Date
 Defendant


        I am the defendant's counsel. I have carefully reviewed every pa1t of this Agreement
 with the defendant. To my knowledge my client's decision to enter into this Agreement is an

 inform;~tary            0 tjp vJ                                           j [ ~      0 Il 3
 Rob Eggert                     ~                                    Date                   /
 Pah·ick Renn
 Counsel for Defendant


 MAB:SMZ




                                                 l1
Case 3:23-cr-00055-DJH Document 26 Filed 09/26/23 Page 12 of 12 PageID #: 80




       FINANCIAL STATEMENT
       United States Attorney's Office
       Western District of Kentucky

        A. GENERAL INSTRUCTIONS - READ CAREFULLY

        The p ~ of this form i, to gi\'e a complete and ao::urate picture of your fina.n:Lal condition so \i.'e
        may de:!de how tocollert linandalclaimi agalnstyou. U you are mairled, list ...etsheld by your
        spou,e, as ·w ell as yourse.U, and show whether each asset i'i owned lndlvidu.alJy or jointly. Before
        oompl~ti.ngandsubmitting this form, you may discuss it.withyourownattamey. By completing and
        signing this financial slatem..-.~ you acknowledge that the Information pro"l'lded wlll affe:t action by
        the Unita:I States Department ofJusticeand further und~t.a.nd tha.t any lalseanswe.rs an lead to the
        ~mination or nulliJkatiM of any potential settlement agreemmt reached and/or prosecution for false
        sta~e.nt, under Title 18, United.States Code, Section 1001 (maximum prison sentence of fi\-e (5) y~
        and/ora fine of rot m,rethan$250,000).

        Each quetion must be answered completely. Uthe answer is"'none .., you must state .. rore."' 00
        NOT leave any q uegtion unansv..-ered.

        Pl""'e date and initial each page, and sign th, last page and aa:ompanyi.ng REiease. U there is
        i.n;auffic~t space Qn the Conn, please attach additioral sheets as ne:essa.ry, and date and initial each
        additional page.

        ll. ACKNOWLEDGMENr, IF REPRESENrED UY COUNSEL

        U I am repre,ented by retalred or appointed counsel, I acknowledge haI/Ing re,1ewed the foregoing
        ln:itructioJ'\9 with my counsel My counsel's rwne and telephone number:




        Nameol Pel'9()n Completing Form:


        ----
         FU'St                                              Middle                                                    Last

        My Signature:                                                               O.te:


        Autl\ority fm lN:tdL-ib.lim d lhc n,qucar.d. irlCflO.Jltion. indueb mecsmoRd fke foDawinJF5 US.C..~301, wt (ace No~
        Exca!tivc:Ordu6166..June 10. 19.33~2S USC. §501-530A;2S US.C. S§:1651, mt-3206;31 US£..§3701.31'l1;44 US.C. S3101;
        2SCJ'.R.S!0.1Ul,0.171 .w Appe,dlx toSubJ>n1Y;18US.C §366-ljJ)(>~.md r-.d.R.Clv-"3~)-

        1l'le princ:ipupu.'VC"'~ brtptho-ing thilbiorn:w.lim iii b c,"-\lu.1.le )'OUt ~Hty kl p.ay the savcr1ftlltnt'a cblmc.-ju.dsmmt
        ~pr.tyCKL Raudncusm d ~ infarro.adan .ueesu.blnhcd. in~ foDowin$U..S.. ~ ofJustrcD.sc FDcS)sCM
        p!blllha::1. fn \'al-llofthe Tuunl RqJllB,Jwth/OV.001 ;i.tp,1sr:5l.1'l'l;Jwth/TAX-C01 .,,1 pg.e 15347;JUffr/USA-t05 .1.t
        pxesS].U)6.&;,W7;Jwt11%:/1.NA.aI1 at~c:s ~10;JwtrcjCRD.i-Ol&.1..t pxe 12774. Oirl.-.mttd ttt irla,~lim ii
        whlntuy. 1/lMT«tmsttd inhnN-1:m li nol fumichtd.. I.he Uff 11::.-d. SWea ~)' Sttkdiidc-.wct.hmuji!'.haftcr mt.-ua.

       ~vi-=l.1/19/17




                                                                                            12
